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                         EXHIBIT 2




                                                                         UBSPO007
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
      NORTHERN
  _________________________________________               TEXAS
                                            District of _________________________________________
       HIGHLAND CAPITAL MANAGEMENT, L.P.
In re __________________________________________
                                    Debtor
                                                                                               19-34054-sgj11
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
UBS SECURITIES LLC AND
______________________    UBS AG LONDON BRANCH,
                     ___________________
                                    Plaintiff
                         v.                                                                          21-03020-sgj
                                                                                     Adv. Proc. No. ________________
 HIGHLAND   CAPITAL  MANAGEMENT,    L.P.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:    Beecher Carlson Insurance Services, LLC
        ______________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

  X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See ATTACHMENT A

  PLACE *Butler Snow LLP                                                                                     DATE AND TIME
        2911 Turtle Creek Blvd., Suite 1400                                                                        July 29, 2021 at 9:00 am CT
        Dallas, Texas 75219
             *In lieu of delivery of hard-copy documents, you may email the documents to Robert.Allen@lw.com, Andrew.Clubok@lw.com, and Candice.Carson@butlersnow.com.

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        June 29, 2021
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                      /s/ Martin Sosland
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
UBS Securities LLC and UBS AG London Branch
 ____________________________        , who issues or requests this subpoena, are:
 Martin Sosland, Butler Snow LLP, 2911 Turtle Creek Blvd., Suite 1400, Dallas, Texas 75219, Telephone: (469) 680-5502, Email: martin.sosland@butlersnow.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                     UBSPO008
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:




                                                                                                                                   UBSPO009
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)


                                                                                                                                     UBSPO010
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                                         ATTACHMENT A

I.        DEFINITIONS

          The terms utilized herein shall have the meanings specified below. Each defined term shall

have the meaning ascribed to it regardless of whether the term is capitalized. Any term referencing

any business, legal, or governmental entity or association shall be deemed a reference to any and

all of its predecessors, successors, affiliates, and subsidiaries, as well as any and all of its past or

present officers, directors, partners, members, managers, employees, representatives, and agents.

Defined terms include the following:

     1.      “Communications” means the transmittal of information in all forms, including,

             without limitation, through meetings, in-person or telephone conversations, telegrams,

             facsimile or electronic mail transmissions, correspondence, letters, reports,

             memoranda, formal or informal statements, press releases, newspaper stories, records

             of conversations or messages, and similar modes. References to Communications with

             or by business entities shall be deemed to include all officers, directors, employees,

             personnel, agents, attorneys, accountants, consultants, independent contractors, or

             other representatives of such entities.

     2.      “You” or “Your” means Beecher Carlson, as well as any division or subsidiary thereof,

             and any of its attorneys, representatives, officers, directors, employees, consultants,

             advisors, affiliates, or anyone acting on Your or such subsidiary’s behalf.

     3.      “Documents” means all documents and materials, whether written, graphic, or

             otherwise, including all originals, identical or non-identical copies, drafts, working

             papers, reproductions, or recordings of any kind, or other data compilations from which

             information can be obtained or translated into reasonably usable form. Documents

             shall be construed broadly to encompass, without limitation, Communications,



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          notations made regarding any Communications, books, records, ledgers, journals,

          notebooks, calendars, minutes, agendas, notices, presentations, credit memoranda,

          promissory notes, sales slips, checks or cancelled checks, agreements, contracts,

          licenses, opinions, projections, spreadsheets, summaries, sworn or unsworn statements,

          recordings, drawings, photographs, computer data, or similar items, regardless of the

          form maintained.

   4.     “HCM” means Highland Capital Management, L.P., as well as any subsidiary thereof,

          and any of their attorneys, representatives, officers, directors, employees, consultants,

          advisors, affiliates, or anyone acting on HCM or such subsidiary’s behalf.

   5.     “Multi-Strat” means Highland Multi Strategy Credit Fund, L.P., formerly known as

          Highland Credit Opportunities CDO, L.P., as well as any subsidiary thereof, and any

          of their attorneys, representatives, officers, directors, employees, consultants, advisors,

          affiliates, or anyone acting on Multi-Strat or such subsidiary’s behalf.

   6.     “CDO Fund” means Highland CDO Opportunity Master Fund, L.P., as well as any

          subsidiary thereof, and any of their attorneys, representatives, officers, directors,

          employees, consultants, advisors, affiliates, or anyone acting on CDO Fund or such

          subsidiary’s behalf.

   7.     “SOHC” means Highland Special Opportunities Holding Company, as well as any

          subsidiary thereof, and any of their attorneys, representatives, officers, directors,

          employees, consultants, advisors, affiliates, or anyone acting on SOHC or such

          subsidiary’s behalf.




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   8.     “HFP” means Highland Financial Partners, L.P., as well as any subsidiary thereof, and

          any of their attorneys, representatives, officers, directors, employees, consultants,

          advisors, affiliates, or anyone acting on HFP or such subsidiary’s behalf.

   9.     “Sentinel” means Sentinel Reinsurance, Ltd. and Sentinel Re Holdings, Ltd. as well as

          any subsidiary or affiliate thereof, and any of their attorneys, representatives, officers,

          directors, employees, consultants, advisors, affiliates, or anyone acting on Sentinel or

          such subsidiary or affiliate’s behalf.

   10.    “Insurance Policy” means that certain Legal Liability Insurance Policy dated as of

          August 1, 2017 between Sentinel Reinsurance, Ltd. as Insurer and Highland CDO

          Opportunity Master Fund, LP, Highland CDO Holding Company, and Highland

          Special Opportunities Holding Company as Insureds.

   11.    “Purchase Agreement” means that certain Purchase Agreement dated as of August 7,

          2017 between Sentinel Reinsurance, Ltd. as Purchaser and each of Highland CDO

          Opportunity Master Fund, L.P., Highland CDO Holding Company, and Highland

          Special Opportunities Holding Company as Sellers.

   12.    “Tax Memo” means that certain June 30, 2018 Memorandum entitled “Tax

          Consequences of Sentinel Acquisition of HFP/CDO Opportunity Assets.”

   13.    “Legal Action” means the legal action identified in the Schedule to the Insurance

          Policy, UBS Securities LLC and UBS AG, London Branch, v. Highland Capital

          Management, L.P., Highland Special Opportunities Holding Company, Highland

          Financial Partners, L.P., Highland CDO Opportunity Master Fund, L.P., Highland

          Credit Opportunities CDO, L.P., and Strand Advisors, Inc., Case No. 650097/2009.




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      14.     As used herein, the terms “concerning,” “regarding,” and “relating to” mean all

              information, facts, or documents that directly, indirectly, or in any other way support,

              concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are

              otherwise connected with the subject matter about which the request is made.


II.         INSTRUCTIONS

      1.      The terms used herein are to be given their most expansive and inclusive interpretation

              unless otherwise expressly limited herein.      This includes, without limitation, the

              following:

              a.      construing “and” and “or” in the disjunctive or conjunctive as necessary to

                      make a request more inclusive;

              b.      construing the singular form of a word to include the plural and vice versa;

              c.      construing the term “among” to mean between or among;

              d.      construing the term “any” to mean any, all, each, and every;

              e.      construing the masculine, feminine, or neutral pronouns to include other

                      genders; and

              f.      construing the present tense of a verb to include its past tense and vice versa.

      2.      In response to these requests, produce all Documents in Your actual or constructive

              possession, custody, or control, or in the actual or constructive possession, custody, or

              control of any of Your representatives, agents, employees, accountants, attorneys, or

              affiliates.

      3.      If any Documents were formerly in Your possession, custody, or control and have been

              lost, destroyed, or otherwise disposed of, then furnish a list that identifies all such

              Documents and state for each such Document:               (a) the nature (e.g., letter,


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          memorandum, etc.), size, and subject matter of the Documents; (b) the persons who

          prepared or authored the Documents, and, if applicable, the persons to whom the

          Documents were sent; (c) the date when the Documents were prepared or transmitted;

          and (d) the date when the Documents were lost, destroyed, or otherwise disposed of,

          the reasons for such destruction or disposition, and the persons requesting and

          performing the destruction or disposition.

   4.     For each Document withheld on the ground of any privilege or immunity, furnish a list

          that identifies each such Document and state for each such Document: (a) the nature

          (e.g., letter, memorandum, etc.), size, and subject matter of the Documents; (b) the

          persons who prepared or authored the Documents, and, if applicable, the persons to

          whom the Documents were sent; (c) each person having a copy of the Documents and

          each person to whom a copy was sent or whom received a copy; (d) the date on which

          the Documents were prepared or transmitted; and (e) the nature of and basis for the

          privilege claimed.

   5.     If any portion of a Document is responsive to these requests, produce the entirety of

          the Document. Likewise, if only part of a responsive Document is protected by

          privilege or immunity, produce the Document with only the privileged matter redacted.

   6.     Produce all Documents as they are kept in the ordinary course of business, and when

          applicable, in the order they are found in a person’s files. If Documents are kept in a

          file with a file label, produce a copy of that label together with the Documents,

          Communications, or other materials in the file.

   7.     Produce all financial data in native format to the extent available.




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        8.     Unless otherwise specified herein, the period covered by these requests is January 1,

               2016 to the present.


 III.        DOCUMENTS TO BE PRODUCED

        1.     Communications between Sentinel, and any of You, HCM, CDO Fund, HFP, SOHC,

               Multi-Strat, James Dondero (“Dondero”), Isaac Leventon (“Leventon”), Matthew

               DiOrio (“DiOrio”), Jean Paul Sevilla (“Sevilla”), Mary Kathryn Irving (“Irving”), or

               Scott Ellington (“Ellington”).

        2.     Documents or Communications concerning the Insurance Policy, including without

               limitation (i) any amendment thereto; (ii) board minutes or resolutions concerning the

               Insurance Policy; (iii) claims made on the Insurance Policy; (iv) Communications with

               the IRS concerning the Insurance Policy; and (v) any similar agreements.

        3.     Documents or Communications concerning the Purchase Agreement, including

               without limitation (i) any amendment thereto; (ii) transfer of assets pursuant to the

               Purchase Agreement; (iii) board minutes or resolutions concerning the Purchase

               Agreement; (iv) Communications with the IRS regarding any assets transferred

               pursuant to the Purchase Agreement; and (v) any similar agreements.

        4.     Documents or Communications concerning the Tax Memo, including without

               limitation (i) any amendment thereto; (ii) board minutes or resolutions concerning the

               Tax Memo; (iii) documents relied on in preparing the Tax Memo; and (iv) any similar

               memoranda.

        5.     Documents or Communications sufficient to identify any assets transferred from HCM,

               CDO Fund, HFP, or SOHC to Sentinel, including without limitation all assets




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          transferred pursuant to the Insurance Policy or Purchase Agreement, and information

          sufficient to identify the value of any such transferred assets.

    6.    Documents or Communications relating to any subsequent transfer or dissipation by

          Sentinel of any assets previously transferred from HCM, SOHC, HFP, or CDO Fund.

    7.    Documents or Communications sufficient to identify all accounts used to transfer or

          receive any assets transferred pursuant to the Insurance Policy or Purchase Agreement.

    8.    Documents or Communications concerning the value of any assets transferred pursuant

          to the Insurance Policy or Purchase Agreement, including without limitation those

          assets listed in Schedule A to the Purchase Agreement, from January 1, 2017 to the

          present, including documentation supporting the $105,647,679 value of those assets as

          listed in the Tax Memo.

    9.    Documents showing the organizational structure of Sentinel and its affiliates, including

          information identifying the relationship between Sentinel and any of Dondero,

          Leventon, DiOrio, Sevilla, Irving, or Ellington.

    10.   Documents or Communications sufficient to determine the identities of Sentinel’s

          directors and officers between January 1, 2016 and the present.

    11.   Documents or Communications from any time period concerning the formation or

          acquisition of Sentinel.

    12.   Documents or Communications between Sentinel and any person concerning the Legal

          Action.




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